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                                      No. 23-2165

                        UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT
                                 ________________

             MR. DEE’S INC., on behalf of themselves and all others similarly
          situated; RETAIL MARKETING SERVICES, INC., on behalf of themselves
         and all others similarly situated; CONNECTICUT FOOD ASSOCIATION, on
                 behalf of themselves and all others similarly situated,

                                                        Plaintiffs-Appellants,
                                            v.

           INMAR, INC.; CAROLINA MANUFACTURER’S SERVICES, INC.; CAROLINA
                     SERVICES; CAROLINA COUPON CLEARING, INC.,

                                                        Defendants-Appellees.
                                   ________________
               On Appeal from the United States District Court for the
             Middle District of North Carolina, No. 1:19-cv-00141-WO-LPA
                Hon. William L. Osteen, Jr., U.S. District Court Judge
                                    ________________

                        RESPONSE BRIEF FOR APPELLEES
                                ________________

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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                           DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
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             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-2165
        No. __________             Caption: __________________________________________________
                                            Mr. Dee's Inc. v. Inmar, Inc.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Carolina Coupon Clearing, Inc
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellee            makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 Carolina Coupon Clearing, Inc. is a wholly-owned subsidiary of Inmar, Inc.




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                    -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Lisa R. Bugni
        Signature: ____________________________________                     Date: ___________________
                                                                                        01/26/24

                     Carolina Coupon Clearing, Inc.
        Counsel for: __________________________________




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        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-2165
        No. __________             Caption: __________________________________________________
                                            Mr. Dee's Inc. v. Inmar, Inc.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Carolina Manufacturer's Services, Inc.
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellee            makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?            YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 Carolina Manufacturer's Services, Inc. is a wholly-owned subsidiary of Inmar, Inc.




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                     -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
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        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
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              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Lisa R. Bugni
        Signature: ____________________________________                     Date: ___________________
                                                                                        01/26/24

                     Carolina Manufacturer's Services, In
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

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            23-2165
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        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Carolina Services
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellee            makes the following disclosure:
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        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 Carolina Services is a wholly-owned division of Inmar, Inc.




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                     -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
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              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Lisa R. Bugni
        Signature: ____________________________________                     Date: ___________________
                                                                                        01/26/24

                     Carolina Services
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

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        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
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        (name of party/amicus)

        ______________________________________________________________________________

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                If yes, identify all parent corporations, including all generations of parent corporations:

                 Inmar, Inc. is a wholly-owned subsidiary of OPE Inmar Holdings, Inc.




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        12/01/2019 SCC                                    -1-
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                   /s/ Lisa R. Bugni
        Signature: ____________________________________                     Date: ___________________
                                                                                        01/26/24

                     Inmar, Inc.
        Counsel for: __________________________________




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                                    INTRODUCTION

              The only constant about this case is its fundamental unsuitability

        for class certification.   Virtually everything else has changed in the

        fifteen years since the first complaint was filed in 2008—including who

        the plaintiffs are, what their theories of harm focus on, and how they

        define the putative classes. Throughout all those iterations, however,

        one thing has remained true: this case—or at least the proposed

        manufacturer classes—cannot be certified consistent with Federal Rule

        of Civil Procedure 23 or Supreme Court caselaw.

              In the 15-plus years since this antitrust class action alleging price-

        fixing in the coupon processing industry was first filed, Plaintiffs have

        filed three amended complaints, brought three motions for class

        certification, and proposed numerous class definitions. Most recently,

        the district court denied summary judgment, certified a class of retailers

        claiming $8.8 million in damages, refused to certify any class of

        manufacturers, and set the case for trial. But Plaintiffs want more.

        Their proposed classes of manufacturers, however, (a) use fail-safe class

        definitions that condition class membership on having a valid claim; (b)

        exclude over 2,000 alleged victims based on arbitrary cutoffs unrelated
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        to Plaintiffs’ claims; and (c) include manufacturers for 32% of whom there

        is no evidence of any injury.

              On appeal, Plaintiffs suggest that this Court need only conclude

        that one of the three class definitions they currently propose is

        workable—and only resolve one issue as to each particular definition—

        for them to be entitled to class certification. And, they suggest, even if

        none of their definitions pass muster, this Court should simply craft its

        own. Not so.

              The district court correctly refused to certify Plaintiffs’ proposed

        manufacturer classes because none of them satisfy Rule 23. Indeed, even

        though the Supreme Court has repeatedly underscored Rule 23’s

        requirements in cases like Comcast Corp. v. Behrend, Wal-Mart Stores,

        Inc. v. Dukes, and Transunion LLC v. Ramirez, Plaintiffs’ brief does not

        cite any of those cases. The only Supreme Court case Plaintiffs do cite is

        a wholly irrelevant one addressing the Sentencing Guidelines.             But

        ignoring controlling Supreme Court cases on class actions does not make

        them any less binding, or any less fatal to Plaintiffs’ case for certification.

              All the proposed classes suffer from a common flaw—the

        predominance of individual issues. But even setting that issue aside, as



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        the district court correctly found, none of these gerrymandered class

        definitions can satisfy Rule 23 or the Constitution. This Court should

        affirm the district court’s refusal to certify a manufacturer class.

                          JURISDICTIONAL STATEMENT

              Defendants largely agree with Plaintiffs’ jurisdictional statement.

        Defendants do, however, renew their argument that to the extent

        Plaintiffs’ Rule 23 petition raises questions about the propriety of a fail-

        safe class on which the district court previously ruled in denying class

        certification in April 2022, Plaintiff did not timely file a Rule 23(f)

        petition challenging that order.          Although Rule 23(f) is a non-

        jurisdictional claim-processing rule, it nonetheless bars consideration of

        untimely issues. Nutraceutical Corp. v. Lambert, 139 S. Ct. 710 (2019).

                                  STATEMENT OF ISSUES

              1.   Whether this Court should affirm the denial of class

        certification because individual issues will inevitably predominate in any

        manufacturer class.

              2.   Whether the district court abused its discretion in concluding

        that Plaintiffs’ proposed Fixed List Class could not be squared with Rule

        23 in part because it was an impermissible fail-safe class.




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              3.   Whether the district court abused its discretion by declining

        to certify the proposed Limited Payer Class because it arbitrarily

        excluded over 2,000 purportedly injured manufacturers.

              4.   Whether the district court abused its discretion by declining

        to certify the proposed All Payer Class because 32% of its members

        suffered no injury at all and Plaintiffs cannot satisfy Rule 23’s

        predominance requirement.

                             STATEMENT OF THE CASE

              A.   Factual Background

                   1.    The Coupon Processing Industry

              This lawsuit arises out of the coupon processing industry as it

        existed when manufacturers, retailers, and consumers still used paper

        coupons.   During that period, despite paper coupons’ simplicity, the

        industry was surprisingly complex.        JA854.     At its simplest level,

        manufacturers issue coupons that consumers can redeem when

        purchasing the manufacturer’s product from a retailer. JA855. When

        consumers do so, manufacturers then owe retailers for the discount the

        retailers gave the consumers. JA854.

              This is where coupon processing comes into play. Retailers must

        submit redeemed coupons to the manufacturers for reimbursement, and


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        manufacturers need assurance their coupons were appropriately

        redeemed. JA854-855. Thus, retailers typically hire a retailer processor

        that receives all the coupons from the retailer, counts them, and invoices

        the manufacturer. JA856. Defendant-Appellant Inmar Inc’s (“Inmar”)

        retailer processor subsidiary was Carolina Coupon Clearing, Inc.

        (“CCC”), and one of CCC’s primary competitors was International

        Outsourcing Services, Inc. (“IOS”). 1 JA859-860.

               Manufacturers also generally hire a manufacturer processor to

        count or audit the coupons received from the retailer processor, confirm

        the retailer processor’s accounting, and pay the retailer processor

        accordingly. JA856. Inmar’s manufacturer processor subsidiary was

        Carolina Manufacturer’s Services, Inc. (“CMS”). JA863. (Retailers and

        manufacturers did not, however, have to hire a processor, and certain

        retailers and manufacturers processed coupons in house.)

               In the standard coupon-processing system, both retailer processors

        and manufacturer processors counted coupons separately. JA856. This

        labor-intensive process usually took place in Mexico. JA856. Boxes of


           1  IOS (formerly known as International Data, LLC) acted as a
        processor in the coupon-redemption process. Initially a defendant here,
        IOS was later dismissed.


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        coupons would be shipped to Mexico to be counted by the retailer

        processor and then to the manufacturer processor for a second count.

        JA857. Inmar handled more than two billion coupons each year. JA857.

              This counting and recounting determined how much the

        manufacturer would be invoiced, which included (a) the coupon’s face

        amount, (b) processing fees; and (c) shipping-and-handling fees charged

        to manufacturers by either the retailers themselves or the retailer

        processor. JA857. Naturally, manufacturers wanted to pay as little as

        possible as slowly as possible, while retailers wanted to be paid in full

        and quickly. JA856. This dynamic often resulted in manufacturers

        refusing to pay the amount invoiced, or assessing chargebacks to retailers

        to offset those amounts. JA857-858. In response, retailers would deduct

        some or all of those chargebacks from what they owed manufacturers for

        their products. JA857-858.

                   2.    Shipping Fees Charged to Manufacturers

              This case evolved to focus on shipping fees. Retail processors or, in

        some instances, retailers themselves charged manufacturers shipping

        fees. JA1386-1387. When retailers themselves charged shipping fees,

        they, not Defendants, independently decided how to set those fees.



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        JA1387. When retail processors (here, CCC or IOS) charged fees, they

        had no contracts with manufacturers, and manufacturers thus had no

        obligation to pay those fees. JA1387. As a result, manufacturers took

        widely varying approaches: some paid the shipping fees, some paid part

        of them, and some paid none at all. JA1387. If manufacturers decided

        to pay less than the invoiced shipping fees (or nothing at all), the retailer

        processor had no recourse against them. JA899.

              Whatever manufacturers unilaterally decided to pay for shipping

        fees was set by their written policies. JA1387. For example, Kimberly-

        Clark, a Fortune 500 company, had a policy both before and after the

        alleged class period that it would pay shipping fees at $4 per thousand

        coupons processed. JA1387. It did not matter what retail processors

        charged Kimberly-Clark, Kimberly-Clark always paid only that amount.

        JA1387. Unsurprisingly, those policies, which were set by sophisticated

        manufacturers, also varied substantially. JA678-684 (shipping policies

        for manufacturers including Coca-Cola, Philip Morris, and Anheuser-

        Busch).

              In addition, CMS’s agreements with some of manufacturer

        customers effectively capped the shipping fees they paid to CCC. JA1387.



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        For example, before the alleged class period, CMS agreed with its then

        largest customer, Nestle, to $3.20 per-thousand coupons processed for

        shipping fees. JA1388.

              All Plaintiffs’ proposed classes at issue in this appeal include

        sophisticated manufacturers.       No representative of any of those

        manufacturers has ever testified in this case. Rather, the Rule 30(b)(6)

        representative for the putative manufacturer representative was an

        attorney associated with the law firm pursuing this case. JA526, JA537.

                   3.    The Alleged Antitrust Conspiracy

              Plaintiffs’ antitrust case is based on a series of agreements that

        Inmar and IOS executed in 2001. The genesis of those agreements was

        the introduction of “one-count” programs to the industry in the late 1990s

        and early 2000s. JA859. As part of those programs, manufacturers

        would agree, through their manufacturer processor, to accept the data

        captured by the retailer processor and pay a fee for collection of that data,

        subject to audit rights. JA859. This generally eliminated any need for

        the manufacturer processor’s second count, with all the attendant

        inconvenience, inefficiency, and expense. It also typically substantially




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        reduced the cycle of chargebacks and deductions between manufacturers

        and retailers. JA859.

              Because Inmar owned both CCC and CMS, it could establish a one-

        count program called APEX for transactions between CCC-client

        retailers and CMS-client manufacturers. JA860. Inmar also had a one-

        count program with NCH, the largest U.S. coupon processing company,

        which was the retail processor for Walmart, Target, and Sears/Kmart,

        and the manufacturer processor for many large manufacturers. JA860.

        In 2000-2001, Inmar wanted to establish a one-count program with IOS,

        which led to the series of agreements that Inmar entered into with IOS

        in April 2001. JA860-862.

              None of those agreements addressed the shipping fees on which

        Plaintiffs’ alleged antitrust conspiracy turns. JA863. Nor do any other

        agreements support their claim.

              With no actual evidence of any conspiracy, Plaintiffs’ claims depend

        on two factual mistakes. First, they asserted that IOS’s CEO Thomas

        Balsiger’s (“Balsiger”) criminal conviction for falsely invoicing unused

        coupons as if they had been used, was related to IOS’s agreements with

        Inmar. Opening Brief (“OB”) at 8. It was not: Balsiger’s conduct had



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        nothing to do with IOS’s agreements with Inmar.            United States v.

        Balsiger, 910 F.3d 942, 946 (7th Cir. 2018). Second, Plaintiffs selectively

        quote Balsiger’s testimony from his criminal trial that IOS’s deal with

        Inmar “allow[ed] us to escalate our freight revenue.” JA1024. But when

        asked about that testimony in this case, Balsiger testified that “escalate”

        was the “wrong word:” it was “just to get our freight revenue paid.”

        JA1055. As Balsiger confirmed, IOS and Inmar never agreed to fix any

        shipping fees. JA900; JA1390 (Inmar declaration confirming there was

        no agreement on shipping fees).

              B.   Procedural Background

                   1.    Shifting Parties and Claims

              This case did not begin over 15 years ago as a case about shipping

        fees or even a case on behalf of manufacturers. It was first brought in

        2008 on behalf of a putative class of retailers only (Montana Food

        Distributors was the named plaintiff), who asserted that Inmar, its

        subsidiaries, and IOS engaged in an anticompetitive conspiracy in the

        coupon-processing industry. JA53-88. As originally framed, the retailers

        asserted a conspiracy to (a) breach fiduciary agreements and/or

        obligations with retailer, state association, and wholesale customers,

        (b) allocate customers, (c) increase the amount and type of coupon-

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        processing fees imposed on customers (not limited to shipping fees), and

        (d) defraud customers to minimize the amount customers received from

        manufacturers for coupons redeemed at retailers. JA53-88.

              In the next complaint, three different plaintiffs, only one of which

        remains in this case, alleged that the defendants (now including

        Supervalu) had allocated customers and shared information about

        chargeback methodologies. JA89-127.

              The Second Amended Complaint, filed more than ten years after

        the initial complaint, dropped Supervalu and focused again on retail

        processing fees as a whole. JA128-171.

              The Third Amended Complaint, filed in 2020, is the operative one

        for purposes of this appeal. JA172-215. That complaint dropped yet

        another plaintiff, leaving only two, both of whom came in after the case

        began. JA172-215. As evidenced by the class definitions Plaintiffs now

        advance, those Plaintiffs have whittled their case down to the claim that

        Defendants (now just Inmar and its subsidiaries) conspired with IOS to

        fix shipping fees. E.g., OB 1 (referencing shipping fees).




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                   2.    Plaintiffs’ Expert’s Shifting Theories of Liability
                         and Damages

              The problem for Plaintiffs is that they cannot prove even this

        streamlined claim. To fill the evidentiary hole at the heart of their case,

        Plaintiffs proffered Dr. Kathleen Grace (“Grace”).             Her first report

        analyzed 292 manufacturers that CMS serviced before and during the

        alleged class period. JA1848. She found that shipping fees decreased for

        97 of those 292 manufacturers. JA1848. Instead of accounting for those

        decreases in her model, though, she ignored them, using a formula based

        on only those manufacturers whose fees increased. JA1851.

              Grace’s supplemental expert report, which was designed to

        “assess[] impact and damages on a classwide basis,” JA1710, assumed a

        “pre-conspiracy” and “post-conspiracy” period, the difference being when

        “Defendants entered the Non-Compete Agreements with IOS.” JA1718,

        JA1719-1720. She then “conduct[ed] three separate analyses to estimate

        shipping fee overcharges to manufacturers,” which she treated as

        synonymous with “damages.” JA1718. From this, she composed “a list

        of manufacturers … that paid observably higher shipping fees after

        Defendants entered the Non-Compete Agreements with IOS.” JA1718,

        JA1719.


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              Grace’s analysis and the “Fixed List” it generated presumed that

        the Non-Compete Agreements resulted in “overcharges,” i.e., “damages”

        that would not have occurred “absent a conspiracy.” JA1718, JA1719.

        Each list plainly assumes every putative class member suffered

        “damages:” Appendix A is labeled “Damages by Mftr [Manufacturer],”

        and lists “Damages Estimates” for each putative class member under

        each regression analysis.    JA 1729.      Appendix B is simply labeled

        “Damages,” and assumes that each putative class member suffered

        “Chargeback Damages.” JA1830.

              The first of Grace’s three analyses, the “before-during analysis,”

        purports to “model CCC’s paid shipping fee per coupon in the pre-

        conspiracy period, controlling for volume, and then use that relationship

        to forecast what a competitive shipping fee would have been absent a

        conspiracy.” JA1719. Grace then purported to “estimate damages by

        subtracting the competitive shipping fee from the amount observed that

        manufacturers paid to CCC in shipping fees.” JA1719. Grace performed

        a similar analysis for IOS’s paid shipping fees. JA1720. That “before-

        during analysis” sought to conclude that manufacturers were paying

        supracompetitive prices, by which she arrived at “a damage estimate of



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        $2.4 million for the list of manufacturers identified in Appendix A.”

        JA1721.

              The second of the three analyses, the “benchmark analysis,”

        purports to “model NCH’s paid shipping fees per coupon over time,

        controlling for volume, and then use that relationship to forecast what a

        competitive shipping fee would have been absent a conspiracy.” JA1721.

        Grace assumed that “[u]sing NCH as a benchmark controls for

        extraneous non-conspiratorial factors that may have affected shipping

        fees during the relevant time period.” JA1721. She then “estimate[d]

        damages by subtracting the competitive shipping fee from the amounts

        in CCC and IOS shipping fees manufacturers paid.” JA1722. Ultimately,

        that “yield[ed] a damage estimate of $41.7 million for the list of

        manufacturers identified in Appendix A.” JA1723.

              The third analysis, the “difference-in-differences,” purports to “use

        NCH prices before and after the alleged conspiracy as a control to

        estimate what shipping fees should have been in the post-conspiracy

        period.” JA1723. Grace first “estimate[d] the pre-conspiracy relationship

        between NCH’s prices and CCC’s prices, controlling for volume,” and

        then, “[u]sing these estimates,” “calculate[d] CCC’s post-conspiracy



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        shipping fee price increases using observed post-conspiracy shipping

        fees.”     JA1724-1725.     She used this analysis to “yield[] a damages

        estimate of $37.1 million for the list of manufacturers identified in

        Appendix A.” JA1725. That “difference-in-differences” analysis came

        with two caveats: it (1) could not “be used to calculate any damages for

        IOS overcharges because there is no way to establish a reliable

        relationship between IOS’s shipping fees and NCH’s shipping fees,” and

        (2) “understates damages, given that in July 2000 IOS threatened a price

        war if Defendants did not agree to stop competing.” 2 JA1725.

                 Each report ignored inconvenient facts that undercut Plaintiffs’

        desired result. The first ignored manufacturers whose fees decreased,

        and      the   second   ignored   the   manufacturers’      varying   shipping

        reimbursement policies and their agreements with CMS capping

        shipping fee charges. JA616-626. As Grace repeatedly conceded, her

        analysis assumed price turned on volume, not those different shipping

        policies or agreements providing otherwise. E.g., JA477 (“The price is

        based on volume”); JA480 (“Once again, the only thing that matters in

        the data is volume”); JA506 (“So the variable of interest here is coupons,


           2   That is not true: IOS threatened litigation, not a price war.


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        so volume is the determinant of price”); JA761 (“Volume is the number

        one driver here”). Moreover, Grace has never provided any theory as to

        how, exactly, the allegedly anticompetitive agreements allowed CCC and

        IOS to increase shipping fees; instead, she simply assumed that any

        supposed “observably higher shipping fees” were attributable to the

        agreements. JA1718, JA1719.

                An analysis that ignores reality cannot meet Plaintiffs’ burden of

        proof, either for class certification or liability.     JA601-731 (Kheyfets’

        Supplemental Expert Report). As Defendants’ expert, Michael Kheyfets

        (“Kheyfets”), demonstrated, even under Grace’s analysis, approximately

        1,960 manufacturer accounts paid no shipping fees at all during the

        proposed class period, and of those who paid at least some shipping fees,

        a majority had no increases relative to Grace’s benchmark period. JA619-

        620. In sum, 75% of the 1,942 proposed manufacturer class members

        that paid two-count shipping fees to CCC showed no injury. Specifically,

        for 61% (or 1,181) of them, the shipping fees paid before the alleged class

        period were statistically indistinguishable from those paid during it, and

        for another 14% (or 274 of them), those fees statistically declined. JA620

        n.48.



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                Similarly, 59% of the 217 proposed manufacturer class members

        that paid one-count shipping fees to CCC also showed no injury.

        Specifically, for 40% (86 of them), the shipping fees paid between the two

        periods were statistically indistinguishable, and for 19% (or 42 of them),

        those fees statistically declined. JA620 n.48. Finally, 59% of the 284

        proposed manufacturer class members that paid 2-count shipping fees

        showed no injury either—21% (or 59), paid statistically indistinguishable

        fees, and another 38% (or 109 of them), paid less statistically. JA620

        n.48.

                      3.    Plaintiffs’ Shifting Class Definitions

                            a.       The Court Denies Plaintiffs’ First Proposed
                                     Class Definitions

                Plaintiffs’ first class certification motion decided on the merits (filed

        over a decade after the first complaint) sought to represent two classes:

        (1) “manufacturers that directly paid observably higher CCC or IOS

        shipping fees during the class period (April 11, 2011 through March 28,

        2007), identified on the list attached to Plaintiffs’ supporting brief at

        Exhibit 24, Appendix A” (the “Original Fixed List Class”); and

        (b) “retailers that directly paid observably higher CCC or IOS shipping




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        fees during the class period, identified on the list attached to Plaintiffs’

        supporting brief at Exhibit 24, Appendix B.” JA1249-1250.

              In April 2022, the district court denied that motion without

        prejudice, finding “these classes … impermissible fail-safe classes

        because class membership is conditioned on having suffered antitrust

        injury or impact in the form of increased shipping fees.” JA1447. As it

        found, fail-safe classes suffer from two flaws: they “fail to provide the

        resolution of the claims of all class members … envisioned in class action

        litigation,” JA1446 (cleaned up) (quoting Young v. Nationwide Mut. Ins.

        Co., 693 F.3d 532, 538 (6th Cir. 2012)); and they do “not comply with Rule

        23’s requirement that members of a proposed class be readily identifiable,

        a principle ‘called ascertainability,’” JA1446 (quoting Krakauer v. Dish

        Network, LLC, 925 F.3d 643, 655 (4th Cir. 2019)).

              As the court further concluded, both were impermissible fail-safe

        classes because “antitrust injury” is an element of Plaintiffs’ Sherman

        Act claim, and both provided that “manufacturers or retailers can only

        be in the proposed classes if they paid observably higher shipping fees—

        the alleged unlawful impact or purpose of the antitrust conspiracy.”

        JA1447.    True, Plaintiffs’ expert also listed the manufacturers and



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        retailers that allegedly suffered antitrust injury, but that did not solve

        the circularity problem. JA1448.

              The problem remained because, “if Plaintiffs fail to prove a

        particular retailer in the proposed retailer class did in fact pay observably

        higher shipping fees, then Defendants are entitled to judgment in their

        favor with respect to that retailer because Plaintiffs failed to prove that

        retailer suffered antitrust impact or injury.” JA1448. But this failure

        would preclude entering any judgment against that retailer, because it

        “would no longer fit the class definition.” JA1448.

              Plaintiffs’ definitions were also improper because determining

        “which retailers and manufacturers paid observably higher fees is not

        straightforward.”    JA1448.     Certifying either class would require “a

        preliminary determination that higher fees constitute an injury that will

        be remedied by a successful verdict in favor of Plaintiffs,” which in turn

        would require resolving “[w]hether higher fees constitute economic loss,

        and whether that economic loss is proximately caused by unlawful

        antitrust conduct” even though these are “issues to be determined at

        trial, not at the class certification stage.” JA1448.

              Plaintiffs did not petition for review of that order.



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                         b.       Plaintiffs Propose More Class Definitions and
                                  the Court Certifies a Retailer Class but Not a
                                  Manufacturer One

              Plaintiffs again sought class certification, this time for: (1)

        “manufacturers that directly paid CCC shipping fees during more than 8

        different calendar months during the class period (April 11, 2001 through

        March 28, 2007) and/or were clients of CMS and directly paid shipping

        fees to IOS for at least 2.2 million coupons during the class period” (the

        “Limited Payer Class”); and (2) “retailers and retail associations that

        were CCC customers and directly paid shipping fee chargebacks to CCC

        of at least $50 during the class period.” JA1452.

              After a hearing at which Grace and Kheyfets testified, JA1949-

        2035, the court invited briefing on whether it “should certify classes

        without the eight month, 2.2 million coupon, or $50 cutoffs.” JA2067. In

        response, Plaintiffs proposed yet another set of class definitions: (1)

        “manufacturers that directly paid CCC shipping fees during the class

        period and/or were clients of CMS and directly paid shipping fees to IOS”

        (the “All Payer Class”); and (2) “retailers and retail associations that were

        CCC customers and directly paid shipping fee chargebacks to CCC during

        the class period.” JA2067. Plaintiffs also argued that a twist on the



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        Original Fixed List Class would work with a defined class of the

        “manufacturers listed in [Appendix] A” (the “Fixed List Class”). JA2097

        n.10 (cleaned up).

              On August 23, 2023, the court entered a 67-page decision granting

        in part and denying in part class certification. JA2117-2118.

                                  (a)   The Rejected Limited Payer Classes

              The district court rejected those “Limited Payer Classes” as “not

        ascertainable because their scope is not defined by the Defendants’

        allegedly conspiratorial activities,” JA2117, and because they frustrated

        a main purpose of class actions: “avoiding multiple lawsuits.” JA2074-

        2075 (quoting Fariasantos v. Rosenberg & Assocs., LLC, 303 F.R.D. 272,

        278 (E.D. Va. 2014)). In so doing, it emphasized Plaintiffs’ concession

        that “they imposed numerical cutoffs for the classes (8 months, 2.2

        million coupons, or $50) because, using [Plaintiffs’] model, the cutoffs

        provide a natural breaking point above which almost all manufacturers

        and retailers were injured.” JA2073 (cleaned up). After questioning the

        naturalness of a breaking point that “exclude[s] over 2,000 injured

        manufacturers and more than half of all injured retailers,” JA2073 n.6,

        the court found the definitions improper because “Plaintiffs’ model,



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        rather than the Defendants’ alleged conspiracy, determines which

        retailers and manufacturers receive the benefits of class membership.”

        Those    definitions   did      not   “connect[]     …   Defendants’   allegedly

        impermissible activities and the classes Plaintiffs seek to certify,” but

        instead set cutoffs that “arbitrarily exclude” over 2,000 “injured parties

        from the class.” 3 JA2073-2074.

                                  (b)   The Rejected All Payer Manufacturer
                                        and Fixed List Classes and Certified
                                        Retailer Class

               The court rejected the All Payer Class, but certified the retailer

        class. It explained that the proposed “Manufacturer Class fail[ed] the

        predominance requirement because one-third of the class is uninjured.”

        JA2117. It found that Plaintiffs presented no evidence that 2,533 out of

        7,813 members (32%) suffered any antitrust injury, that this proportion

        far exceeded what other courts have allowed, and that Plaintiffs “d[id]

        not claim ... that they can establish a winnowing mechanism” to weed out

        the uninjured.     JA2089-2090, JA2094.              Moreover, “individualized

        questions, including those regarding class members’ injury, [would]


           3 As Kheyfets explained, Grace opined that 5,280 manufacturers were
        injured by Defendants’ conduct, JA611, but the Limited Payer Class
        includes only 3,219 allegedly injured manufacturers. JA2072.


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        overwhelm common ones and render class certification inappropriate.”

        JA2095 (quoting Olean Wholesale Grocery Coop., Inc. v. Bumble Bee

        Foods LLC, 31 F.4th 651, 669 (9th Cir. 2022) (en banc)). The court did,

        however, certify the “All Payer Retailer Class” based on Plaintiffs’

        evidence that this class “only includes 18 uninjured class members”—a

        percentage (6%) that “approaches the ‘outer limits of a de minimis

        number’” but “could be winnowed from the class without individual

        issues subsuming class-wide ones.” JA2112-2113 (quoting In re Rail

        Freight Fuel Surcharge Antitrust Litig. (In re Rail Freight II), 934 F.3d

        619, 625 (D.C. Cir. 2019)).

                As to the Fixed List Class, the court again held that definition was

        essentially unchanged and remained impermissibly fail-safe. JA2097

        n.10.

                Plaintiffs subsequently filed a Rule 23(f) petition, this Court

        granted review, and this appeal followed.

                               SUMMARY OF ARGUMENT

                This Court should affirm the district court’s decision declining to

        certify a manufacturer class.      The fact that Plaintiffs offered many

        different definitions does not mean that the district court had to pick any



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        of them. None of them came close to satisfying Rule 23. Nor should this

        Court assume Plaintiffs’ burden and try to craft a better definition for

        them. That is because all of Plaintiffs’ proposed classes—and indeed any

        manufacturer class—suffer from a common flaw: the predominance of

        individualized issues, given that what each manufacturer paid depended

        on individualized circumstances that varied widely among putative class

        members. This Court need look no further to affirm.

              This Court can also affirm because, as the district court correctly

        found, Plaintiffs’ proposed classes suffer from other critical flaws. First,

        the Fixed List Class is impermissibly fail-safe. Defendants need not, and

        this Court should not, take on faith Plaintiffs’ representations that they

        have done the court’s work for it, or agree with their claim that courts

        cannot scrutinize that work. Second, the Limited Payer Class fails both

        ascertainability and the requirement that a class action be superior to

        other methods of proceeding. Third, the All Payer Class fails to satisfy

        standing and predominance. Plaintiffs are not entitled to certification for

        persisting in trying to force a square peg into a round hole. If there was

        any error here, it is not that the district court failed to certify enough

        classes, it is that it certified any at all.



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                                  STANDARD OF REVIEW

              Because district courts retain “broad discretion in deciding whether

        to allow the maintenance of a class action,” Zimmerman v. Bell, 800 F.2d

        386, 389 (4th Cir. 1986) (quoting Roman v. ESB, Inc., 550 F.2d 1343, 1348

        (4th Cir. 1976)), this Court accords decisions to grant or deny class

        certification “substantial deference.” Gunnels v. Healthplan Servs., Inc.,

        348 F.3d 417, 424, 434 (4th Cir. 2003).          A district court abuses its

        discretion “when it materially misapplies the requirements of Rule 23.”

        Career Counseling, Inc. v. Amerifactors Fin. Grp., LLC, __ F.4th __, 2024

        WL 220377 (4th Cir. Jan. 22, 2024) (quoting EQT Prod. Co. v. Adair, 764

        F.3d 347, 357 (4th Cir. 2014)). This Court reviews factual findings in

        support of such decisions only for clear error. Thorn v. Jefferson-Pilot

        Life Ins. Co., 445 F.3d 311, 317-18 (4th Cir. 2006). Under clear error

        review, “facts found by the district court are conclusive on appeal ‘unless

        … plainly wrong.’” Walton v. Johnson, 440 F.3d 160, 173 (4th Cir. 2006)

        (en banc) (quoting Jiminez v. Mary Wash. Coll., 57 F.3d 369, 378-79 (4th

        Cir. 1995)).




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                                     ARGUMENT

        I.     No Manufacturer Class Can                Be    Certified   Because
              Individual Issues Predominate

              Rule 23(b)(3) requires that “[common] questions of law or fact ...

        predominate over any questions affecting only individual members.”

        Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 622 (1997) (quoting Fed.

        R. Civ. P. 23(b)(3)). That requirement is “far more demanding” than the

        threshold commonality requirement. Id. at 624. Accordingly, courts

        must conduct a “rigorous analysis” of the Rule 23(b)(3) requirements and

        Plaintiffs’ methodology for satisfying them, and find facts in the face of

        conflicting expert testimony. In re Hydrogen Peroxide Antitrust Litig.,

        552 F.3d 305, 323-24 (3d Cir.), as amended (Jan. 16, 2009). For a court

        to conclude that predominance has been satisfied, a plaintiff must

        “demonstrate that the element[s] of [the legal claim are] … capable of

        proof at trial through evidence that is common to the class rather than

        individual.” Id. at 311-12. Plaintiffs cannot do so here.

              As Defendants argued below, none of the manufacturer classes

        Plaintiffs propose can be certified because individual issues predominate.

        E.g., ECF 158 at 15-17; ECF 282 at 7-9. Although the district court did

        not deny certification on this ground, this Court is “not limited to


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        evaluation of the grounds offered by the district court to support its

        decision, but may affirm on any grounds apparent from the record.”

        United States v. Smith, 395 F.3d 516, 519 (4th Cir. 2005); Ostrzenski v.

        Seigel, 177 F.3d 245, 253 (4th Cir. 1999) (same).

               Here,    individual   issues   necessarily    predominate   for   any

        manufacturer class because manufacturers individually decided what

        they would pay for shipping fees. JA1386-1391. Manufacturers had no

        contractual obligation to pay shipping fees charged by retail processors

        like CCC or IOS. 4 JA1387. As a result, each manufacturer made its own

        decision whether to pay all, part, or none of those fees. JA1387. Each

        manufacturer’s decision was based on its own policies which varied

        widely. JA678-684. And, the retail processer had no recourse against

        the manufacturer if it decided to pay less than the invoiced shipping fees.

        JA899.




           4  Although retailers may have had contracts with manufacturers,
        retail processors like CCC and IOS had no role in setting shipping fees
        charged by retailers under those contracts. JA1387. Moreover, the vast
        number of written agreements and policies meant that there was little or
        no uniformity in what companies paid for shipping. JA1390.


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              In addition, CMS also had agreements with some—but not all—of

        its manufacturer customers that effectively capped CCC’s shipping fees

        for manufacturers. JA1387.

              As a result, there is no uniformity in the shipping fees

        manufacturers paid CMS or IOS.            That lack of uniformity requires

        individualized injury evidence for every manufacturer, precluding

        Plaintiffs from establishing predominance for any of Plaintiffs’ proposed

        manufacturer classes.     In “every private anti-trust action,” plaintiffs

        must prove not only “a violation of the anti-trust laws,” but also

        “individual injury” and damages. Windham v. Am. Brands, Inc., 565 F.2d

        59, 65-66 (4th Cir. 1977). “While a case may present a common question

        of violation, the issues of injury and damage remain the critical issues in

        such a case and are always strictly individualized.” Id.

              Windham affirmed the denial of class certification in an antitrust

        case because the “multiplicity of claimants who might be involved, the

        complexity of their claims as they would relate to injury and damages,

        and the highly individualized character the proof of injury and damages

        would assume,” required “a mini-trial in all the individual claims,

        probably with a separate jury.” Id. at 66. In particular, the Court noted



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        the difference between antitrust cases where the fact of injury and

        damages are “virtually a mechanical task capable of mathematical or

        formula calculations” and those “where the issue of damages and impact

        does not lend itself to such a mechanical calculation, but requires

        separate mini-trials of an overwhelming large number of individual

        claims.” Id. at 68 (cleaned up). The former may be certifiable, the latter

        is not. Id. Given the differing and deeply individual decisions about fees,

        this case clearly falls into that second, uncertifiable bucket.

              Although Grace tried to reduce questions of injury and damage to

        ones subject to common proof and a common answer, she could do so only

        by assuming price was based only on “volume,” and ignoring the varying

        manufacturer shipping fee policies and agreements with CMS capping

        shipping fees.     JA477; JA480; JA506; JA616-626; JA761.             Grace’s

        analysis shows that approximately 1,960 manufacturers paid no shipping

        fees at all during the proposed class period, and a majority of those

        paying at least some had no increases in fees relative to her benchmark

        period. JA619-620. Of the 1,942 proposed manufacturer class members

        that paid 2-count shipping fees to CCC, 75% either paid the same, or

        lower fees during the alleged class period as before.             JA620 n.48.



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        Similarly, the fees paid between the two periods were statistically

        indistinguishable for 40% of the 217 proposed manufacturer class

        members that paid 1-count shipping fees to CCC, and statistically

        declined for another 19%. JA620 n.48. Finally, 59% of the 284 proposed

        manufacturer class members that paid 2-count shipping fees either paid

        statistically indistinguishable shipping fees, or had statistical declines in

        those fees. JA620 n.48.

              Antitrust cases declining to certify classes on predominance

        grounds given similar, individualized facts are legion. E.g., Windham,

        565 F.2d at 72 (affirming denial of certification given market-to-market,

        day-to-day,     and       government-grade-to-government-grade         price

        variations); In re Rail Freight II, 934 F.3d at 625-27 (affirming denial of

        certification because plaintiffs’ expert found 12.7% of putative class

        members suffered no injury, thus requiring individualized inquiries to

        determine who was actually injured); In re Asacol Antitrust Litig., 907

        F.3d 42, 58 (1st Cir. 2018) (reversing class certification because

        individual issues identifying who had not suffered any antitrust injury

        would predominate); In re New Motor Vehicles Can. Exp. Antitrust Litig.,

        522 F.3d 6, 29-30 (1st Cir. 2008) (reversing certification because



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        individual issues predominated based on each proposed class member’s

        price negotiation); In re Hydrogen Peroxide, 552 F.3d 305, 325-27

        (vacating class certification because plaintiffs’ regression analysis (like

        Grace’s) failed to account for differing contract negotiations and terms

        and substantial price disparities); Robinson v. Tex. Auto. Dealers Ass’n,

        387 F.3d 416, 424-26 (5th Cir. 2004) (reversing certification because class

        members’ individual negotiations prevented plaintiff from arguing that

        all suffered an antitrust injury just by paying a fee); Blades v. Monsanto

        Co., 400 F.3d 562, 574-75 (8th Cir. 2005) (affirming denial of certification

        because particularized evidence would be required to show the prices

        some class members paid were a result of antitrust conspiracy). 5

               As in those cases, no class should be certified here. All the classes

        Plaintiffs propose—and indeed any manufacturer class—cannot satisfy

        predominance because there is no common proof, or common answer, as

        to whether, when, what, or why manufacturers paid shipping fees. To


           5  Outside of the antitrust context, see Broussard v. Meineke Discount
        Muffler Shops, Inc., 155 F.3d 331, 343, 352 (4th Cir. 1998) (reversing
        certification because franchisees had different contracts at different
        times and different levels of compensable injury); Lienhart v. Dryvit Sys.,
        Inc., 255 F.3d 138, 148-50 (4th Cir. 2001) (reversing certification based
        on individual issues of applicator and contractor behavior for product
        installation).


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        assess antitrust injury therefore would require “separate mini-trials” for

        each manufacturer to determine each manufacturers’ policy, agreement,

        or practice for paying shipping fees.       Windham, 565 F.2d at 68-69

        (cleaned up). And, to be clear, the “justification of class certification is

        absent [because] the individual plaintiffs are financially able to prosecute

        individual actions.” Id. at 69.

        II.   The District Court Did Not Abuse Its Discretion by
              Declining to Certify Plaintiffs’ Fail-Safe Fixed List Class

              Plaintiffs contend on appeal that the district court abused its

        discretion by rejecting their Fixed List Class—defined simply as the

        5,280 “manufacturers listed in App[endi]x A” of Grace’s report—because

        it was not a fail-safe class, and that even if it was, this Court should

        ignore its prior guidance and adopt the minority view upholding such

        classes. OB 20. Neither argument holds up.

              Plaintiffs themselves acknowledge the “problems with fail-safe

        classes.” OB 19. Nevertheless, they argue that—contrary to this and

        most Circuits’ precedent—Rule 23 does not prohibit fail-safe classes.

        They also assert the Fixed-List Class was not fail-safe because Plaintiffs

        had reduced their theory to “a list of specified manufacturer purchasers,”




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        even though it purports to be a list of injured manufacturers. OB 21, 26,

        32. Neither argument salvages their proposed class.

               A.   Rule 23 Prohibits Certifying Fail-Safe Classes

               Eight circuits, including this one, have held or acknowledged Rule

        23 prohibits fail-safe classes. 6 Only two have not. In re White, 64 F.4th

        302 (D.C. Cir. 2023)—on which Plaintiffs heavily rely—and In re

        Rodriguez, 695 F.3d 360 (5th Cir. 2012), are outliers on the issue.

               Consistent with the overwhelming weight of Circuit authority, this

        Court has recognized that district courts should not certify “fail-safe”

        classes. Adair, 764 F.3d at 360 n.9. Adair vacated certification because

        the district court, inter alia, “fail[ed] to rigorously analyze whether the

        administrative burden of identifying class members in the ownership

        cases would render class proceedings too onerous.” Id. at 358. The Court




           6  Olean, 31 F.4th at 669 n.14; Cordoba v. DIRECTV, LLC, 942 F.3d
        1259, 1276-77 (11th Cir. 2019); Orduno v. Pietrzak, 932 F.3d 710, 716
        (8th Cir. 2019); Mullins v. Direct Digit., LLC, 795 F.3d 654, 659-60 (7th
        Cir. 2015); In re Nexium Antitrust Litig., 777 F.3d 9, 22 (1st Cir. 2015);
        Byrd v. Aaron’s Inc., 784 F.3d 154, 167 (3d Cir.), as amended (Apr. 28,
        2015); Adair, 764 F.3d at 360 n.9; Randleman v. Fid. Nat’l Title Ins. Co.,
        646 F.3d 347, 352 (6th Cir. 2011) (holding that “an improper fail-safe
        class … shields the putative class members from receiving an adverse
        judgment” and “is an independent ground for denying class
        certification”).


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        noted that “the district court did not address whether it is possible to

        define the classes without creating a fail-safe class,” meaning a class

        “defined so that whether a person qualifies as a member depends on

        whether the person has a valid claim.” Id. at 360 n.9 (cleaned up).

        Accordingly, this Court directed the district court to “consider this issue

        as part of its class-definition analysis.” Id. It would make no sense to

        give that instruction if this Court believed Rule 23 imposes no limits on

        fail-safe classes.

              Plaintiffs nonetheless contend there is no problem with fail-safe

        classes that do not violate “the explicit requirements of Rule 23.” OB 32.

        But, as the courts’ reasoning in rejecting fail-safe classes makes plain,

        they do violate Rule 23’s express requirements. E.g., Orduno v. Pietrzak,

        932 F.3d 710, 717 (8th Cir. 2019); Adashunas v. Negley, 626 F.2d 600,

        604 (7th Cir. 1980); Mullins v. Direct Digit., LLC, 795 F.3d 654, 660 (7th

        Cir. 2015). The main defect is that, because membership in a fail-safe

        class depends on the merits of class members’ claims, a fail-safe class

        “cannot be defined until the case is resolved on its merits.” Young, 693

        F.3d at 538; see also Orduno, 932 F.3d at 716 (explaining that fail-safe

        classes are “defined to preclude membership unless a putative member



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        would prevail on the merits”). That cannot be reconciled with Rule 23(c)’s

        requirement that courts decide “[a]t an early practical time … whether

        to certify the action as a class action.” Fed. R. Civ. P. 23(c)(1)(A). If a

        court cannot determine whether a putative class member fits the class

        definition until (or worse yet, after) trial, the court obviously cannot

        decide whether to certify a class “[a]t an early practical time.”      Id.;

        Orduno, 932 F.3d at 716-17.

              Fail-safe classes are also irreconcilable with Rule 23(c)’s

        requirement that a class judgment, “[w]hether or not favorable to the

        class,” must “include and describe those to whom the court finds to be

        class members.” Fed. R. Civ. P. 23(c)(3)(A). In a fail-safe class, “a class

        member either wins or, by virtue of losing, is defined out of the class and

        is therefore not bound by the judgment.” Messner v. Northshore Univ.

        HealthSys., 669 F.3d 802, 825 (7th Cir. 2012) (collecting cases); JA1447-

        1448 (recognizing same). And if every putative class member loses, there

        are no class members, and thus no class (or class judgment) at all. In a

        fail-safe class, therefore, a “judgment” can never be “not favorable” to

        those class members. Fed. R. Civ. P. 23(c)(3)(A); Premier Elec. Constr.

        Co. v. Nat’l Elec. Contractors Ass’n, 814 F.2d 358, 361-63 (7th Cir. 1987)



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        (explaining that Rule 23 was amended in 1968 to prevent “one-way

        intervention”). Simply put, with a fail-safe class, the house always wins:

        either the class prevails as a whole, or its putative members are not

        bound by a losing judgment.

              That, as Plaintiffs concede, “raises an obvious fairness problem for

        the defendant: the defendant is forced to defend against the class, but if

        a plaintiff loses, she drops out and can subject the defendant to another

        round of litigation.” Mullins, 795 F.3d at 660; OB 19 (agreeing that one

        of the “problems with fail-safe classes” is that they “allow putative class

        members to seek a remedy but not be bound by an adverse” result)

        (quoting Orduno, 932 F.3d at 716-17)). That is even more troubling here,

        where Plaintiffs seek certification under Rule 23(b)(3) and thus must

        show that “a class action is superior to other available methods for fairly

        and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3); see

        Nexium, 777 F.3d at 22 (“In certifying a (b)(3) class there is an almost

        inevitable tension between excluding all non-injured parties from the

        defined class and including all injured parties in the defined class.”).

        Here (and with fail-safe classes generally), such a definition leaves

        unsuccessful putative class members free to file duplicative individual



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        actions. Id.; Orduno, 932 F.3d at 716-17 (holding a fail-safe class “also

        unmanageable” under Rule 23(b)(3)(D)).            For these reasons, as most

        Circuits have recognized, fail-safe classes are inherently inconsistent

        with Rule 23. E.g., Mullins, 795 F.3d at 657 (“We and other courts have

        long recognized an implicit requirement under Rule 23 that a class must

        be defined clearly and that membership be defined by objective criteria,”

        which is not satisfied “when class membership was defined in terms of

        success on the merits (so-called ‘fail-safe’ classes).”).

              But even if Plaintiffs were correct that Rule 23 does not

        categorically prohibit fail-safe classes, it would not follow that the district

        court abused its discretion by finding the Fixed List Class is the kind of

        fail-safe class that Rule 23 does forbid. The court held that because the

        Fixed List Class was defined to include only manufacturers that “paid

        observably higher shipping fees,” it was “defined so that whether a person

        qualifies as a member … depends on whether the person has a valid

        claim.” JA1447 (quoting Adair, 764 F.3d at 360 n.9). And that meant

        class membership turns on questions like “[w]hether higher fees

        constitute economic loss, and whether that economic loss is proximately

        caused by unlawful antitrust conduct”—and those “are issues to be



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        determined at trial ….” JA1448. That also meant the district court would

        not be able to “enter judgment” against a class member who had failed to

        prove injury because it “would no longer fit the class definition.” JA1448.

        Those two problems render the Fixed List Class uncertifiable under Rule

        23.

              B.    The Fixed List Class Is Impermissibly Fail-Safe
                    Because Membership Is Conditioned on Having
                    Suffered Antitrust Injury

              Plaintiffs do not seriously dispute that their Original Fixed List

        Class—defined as manufacturers who “directly paid observably higher

        CCC or IOS shipping fees during the class period,” JA1249-1250—was a

        fail-safe class.     Instead, they argue that they cured that defect by

        proposing a class definition that consisted of a list of manufacturers.

        JA2097 n.10; OB 37. Not so.

              As a threshold matter, a class definition that consists solely of a list

        of putative class members created by class counsel cannot be squared

        with Rule 23. Under Rule 23, plaintiffs bear the burden of “submit[ting]

        a proposed class definition,” and courts must then “evaluate the [Rule]

        23 requirements and determine whether to certify the proposed class.”

        Rivera v. Exeter Fin. Corp., 829 F. App’x 887, 887 & n.1 (10th Cir. 2020)



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        (mem.) (affirming denial of certification where plaintiffs sought to define

        class as “482 cell phone subscribers” identified in attached list (cleaned

        up)); Fed. R. Civ. P. 23(c)(1)(B) (requiring courts to “define the class” in

        certification orders).

              “[I]t is insufficient merely to provide a list, however lengthy, of

        persons said to be in the class and leave it to the court to devise a class

        definition.” 1 McLaughlin on Class Actions § 4:2 (20th ed.). Accordingly,

        although a plaintiff seeking class certification may submit “a list of

        names” along with a proposed class definition, “a failure to also define

        the class” is “fatal to class certification.” Rivera, 829 F. App’x at 887. And

        providing such a list does not insulate the proposed definition underlying

        it from scrutiny.

              That is because a “party seeking class certification must

        affirmatively demonstrate his compliance with” Rule 23.            Wal-Mart

        Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). “Rule 23 does not set forth

        a mere pleading standard.” Id. at 350-51. Instead, “[a] party seeking

        class certification … must be prepared to prove that there are in fact

        sufficiently numerous parties, common questions of law or fact, etc.” Id.

        (emphasis in original). Consistent with that rule, courts cannot take



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        compliance on faith, and plaintiffs must “satisfy [Rule 23] through

        evidentiary proof.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013).

        Submitting “a list of names without a class definition falls short of

        satisfying this burden.” Rivera, 829 F. App’x at 888.

              Plaintiffs, however, turn those requirements on their head,

        contending that the district court could not engage in any “additional

        fact-finding” because “how [they] ‘generated the list’ is not part of the

        class definition … and courts examining whether a class is fail-safe

        [should] look only at the class definition itself, not some other set of

        criteria.” OB 21, 37. Plaintiffs argue that it would not be “appropriate

        to examine underlying criteria behind how the fixed list was compiled

        (rather than how the class is explicitly defined)[.]” Id. at 21, 26. Not so.

              As this Court recognized in Adair, to assess whether the moving

        party has “carried its burden, a district court may need to ‘probe behind

        the pleadings before coming to rest on the certification question.’” 764

        F.3d at 357 (quoting Comcast, 569 U.S. at 33). Accordingly, the district

        court was not prohibited from undertaking a “rigorous analysis” to assess

        whether the proposed class was impermissibly fail-safe by analyzing the

        expert report on which it was based. To the contrary, it was required to



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        do so where, as here, the class definition expressly references materials

        from the expert report itself. Plaintiffs’ arguments to the contrary are

        particularly inappropriate here, where they previously had submitted a

        class definition from which they claimed to derive their list. JA1249-

        1250. Because that definition was expressly fail-safe, the resulting list

        is as well. Plaintiffs cannot credibly argue that because they provided

        the court with the result and not the reasoning, the court had to ignore

        reality.

              Plaintiffs cite no case barring courts from looking behind such a list

        to assess whether its underlying membership criteria comply with Rule

        23, and Defendants are aware of none. Contrary to Plaintiffs’ argument,

        Adair v. EQT Prod. Co., 320 F.R.D. 379, 420 (W.D. Va. 2017), did not

        uphold a “class definition based partly on [a] list … without inquiring

        whether a class defined based on the criteria used to create the list would

        be fail-safe.” OB 21. Rather, the court did not need to address that

        question because “the plaintiff ha[d] not sought classwide treatment” of

        those classes. Adair, 320 F.R.D. at 420. Plaintiffs’ reliance on McKeage

        v. Bass Pro Outdoor World, L.L.C., 2014 WL 12754996, at *1 (W.D. Mo.

        Oct. 7, 2014), for the proposition that a “specific list of class members



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        didn’t create [a] ‘fail-safe class …” is equally misplaced. OB 21. The “list

        of class members” there was entirely separate from the proposed class

        definition. 2014 WL 12754996, at *1-2. Here, the proposed class list and

        class definition are one and the same.

              In any event, any class definition generated from Plaintiffs’ list

        would be defined solely by reference to class members’ alleged injury and

        thus impermissibly fail-safe. It is undisputed that Plaintiffs “generated

        the list[] of manufacturers … from Dr. Grace’s regressions.” JA2097 n.10.

        It is also undisputed that the entire purpose of those regressions was to

        identify manufacturers who supposedly were injured by Defendants.

        Grace’s Appendix A purports to identify manufacturers who paid

        “observably higher shipping fees,” JA2097 n.10 (cleaned up), and Grace

        described those “overcharges” as “damages.” JA1726. Indeed, Appendix

        A is labeled “Damages by [Manufacturer]” and lists “Damages Estimates”

        for each putative class member. JA1729. That language disposes of

        Plaintiffs’ argument that their list is not “framed as a legal conclusion”

        and does not “use legal terms of art.” OB 22 (quoting Lester v. Pay Car

        Mining, Inc., 2018 WL 2728033, at *5 (S.D.W. Va. June 6, 2018)).




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        “Damages” is a legal term of art. In re HomeBanc Mortg. Corp., 945 F.3d

        801, 812 (3d Cir. 2019).)

              As the district court correctly concluded, Plaintiff’s list—just like

        the definition it was derived from—was “conditioned on [members]

        having suffered antitrust injury or impact in the form of increased

        shipping fees.” JA2097 n.10 (cleaned up). The court did not abuse its

        discretion in declining to certify that fail-safe class.

              None of the other cases Plaintiffs cite support, let alone compel, a

        different outcome because the class definitions in those cases turned on

        factual events, not legal conclusions. E.g., Johnson v. City of Grants Pass,

        72 F.4th 868, 878 (9th Cir.), as amended on denial of reh’g (July 5, 2023)

        (“All involuntarily homeless individuals living in Grants Pass”); Kamar

        v. RadioShack Corp., 375 F. App’x 734, 735 (9th Cir. 2010) (“All

        California employees of defendant paid on an hourly basis as nonexempt

        employees for the period of March 2003 to the present who (a) were

        instructed to and attended a Saturday store meeting or district office

        meeting without receiving the full amount of mandated premium pay, or

        (b) worked a split shift schedule without receiving the full amount of

        mandated premium pay, or (c) fit into both (a) and (b).”); Lester, 2018 WL



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        2728033, at *4 (“full-time employees” “who were terminated from

        employment, or subject to a reduction in force” (cleaned up)); Butela v.

        Midland Credit Mgmt. Inc., 341 F.R.D. 581, 591-92 (W.D. Pa. 2022) (“All

        Pennsylvania residents” who were sent a letter with certain contents);

        Benson v. Enter. Leasing Co. of Orlando, LLC, 2021 WL 2138781, at *3

        (M.D. Fla. May 11, 2021) (“Enterprise employees” who were terminated

        without cause in specified circumstances); In re TD Bank, N.A. Debit

        Card Overdraft Fee Litig., 2018 WL 11303199, at *2 (D.S.C. June 20,

        2018) (“customers of TD Bank … who were assessed an overdraft fee for

        an ATM or debit card transaction”); Geary v. Green Tree Servicing, LLC,

        2017 WL 2608691, at *2 (S.D. Ohio June 16, 2017) (“persons who were

        sent … one or more letters in the form of the exemplars attached hereto”);

        Parish v. Sheriff of Cook Cnty., 2016 WL 1270400, at *1 (N.D. Ill. Mar.

        31, 2016) (“all persons confined at the Cook County Jail on and after

        August 3, 2005 who provided notice that he or she had been taking

        prescription medication for a serious health need and who was not

        provided with appropriate medication within 24 hours thereafter”

        (cleaned up)). Those classes bear no resemblance to the Fixed List Class

        here.



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              Nor do the classes certified in Olean, which were defined based on

        members having bought the antitrust defendants’ products. Although

        Olean stated that a “court may redefine [an] overbroad class to include

        only those members who can rely on the same body of common evidence

        to establish the common issue,” it then immediately clarified that “[a]

        court may not, however, create a ‘fail-safe’ class that is defined to include

        only those individuals who were injured by the allegedly unlawful

        conduct.” 31 F.4th at 669 n.14. Here, Plaintiffs are not just trying to use

        “Dr. Grace’s regression analysis as [common] evidence of antitrust injury

        and damages” for class members identified through some other means,

        OB 26, they seek to condition class membership on that alleged injury. 7

        That is a quintessential fail-safe class, and the district court was well

        within its discretion to reject it.

        III. The District Court Did Not Abuse Its Discretion by Denying
             Certification of the Limited Payer Class

              The district court’s refusal to certify the Limited Payer Class was

        also a permissible exercise of its broad discretion. The court correctly




           7 That in turn refutes Plaintiffs’ arguments that their Fixed List Class

        somehow avoids the drop-out problem inherent to fail-safe classes.
        OB 22-23.


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        found that the Limited Payer Class violates Rule 23’s “ascertainability”

        requirement because it defines class membership by reference to

        arbitrary cutoffs rather than “objective criteria.” JA2069-2075. That

        same defect also prevents the Limited Payer Class from satisfying Rule

        23’s “superiority” requirement. JA2069 n.3. For either or both reasons,

        this Court should affirm the district court’s decision.

              A.   The Limited Payer Class Is Not Ascertainable Based on
                   Objective Criteria

              The district court did not abuse its discretion by finding that the

        Limited Payer Class violates Rule 23’s ascertainability requirement.

        This Court has “repeatedly recognized that Rule 23 contains an implicit

        threshold requirement that the members of a proposed class be readily

        identifiable,” also known “as an ascertainability requirement.” Adair,

        764 F.3d at 358 (cleaned up); accord Krakauer, 925 F.3d at 654-55.

        Ascertainability is “an ‘essential’ element of class certification”

        “encompassed” by Rule 23, 1 Newberg on Class Actions § 3:2 (6th ed.);

        Adair, 764 F.3d at 358, and a “textually-grounded component of express

        requirements in Rule 23.” 1 McLaughlin on Class Actions § 4:2. Most

        directly, it follows from Rule 23(c)’s requirement that “[a]n order …

        certify[ying] a class action must define the class and the class claims,


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        issues, or defenses.” Fed. R. Civ. P. 23(c). Because of that requirement,

        “plaintiff[] must define and establish the existence of an aggrieved class

        that is ascertainable by reference to objective criteria.” 1 McLaughlin on

        Class Actions § 4:2; Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 592-

        93 (3d Cir. 2012); Rivera, 829 F. App’x at 887-88; Groussman v. Motorola,

        Inc., 2011 WL 5554030, at *7 (N.D. Ill. Nov. 1, 2011). 8

               Consistent with these principles (and contrary to Plaintiffs’

        argument that ascertainability should be “narrowly construed” (OB 45)),

        this Court “requires a heightened ascertainability showing before a class

        is certified.” 1 McLaughlin on Class Actions § 4:2 (emphasis added). 829

        F. App’x at 887-88; Groussman, 2011 WL 5554030, at *7. Under this

        Court’s precedent, “[a] class cannot be certified unless a court can readily

        identify the class members in reference to objective criteria,” Adair, 764




           8 In addition, courts cannot perform Rule 23’s “rigorous analysis,”
        Comcast, 569 U.S. at 35 (quoting Dukes, 564 U.S. at 350-51), unless
        absent class members are “readily identifiable.” Hammond v. Powell, 462
        F.2d 1053, 1055 (4th Cir. 1972). Without a ready means of ascertaining
        who belongs in the proposed class, Plaintiffs cannot show that common
        questions “predominate,” or that a class action is “superior to other
        available methods for fairly and efficiently adjudicating the controversy.”
        Fed. R. Civ. P. 23(b)(3).


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        F.3d at 358 (emphasis added), and without individualized inquiries.

        Career Counseling, 2024 WL 220377, at *2.

               Those objective criteria require that “the class definition must have

        some relation to the defendants’ conduct” and be derived “from objective

        records, such as information from a company’s records.” 1 McLaughlin

        on Class Actions § 4:2; see, e.g., All. to End Repression v. Rochford, 565

        F.2d 975, 978 (7th Cir. 1977); Franco v. Conn. Gen. Life Ins. Co., 289

        F.R.D. 121, 141 (D.N.J. 2013), aff’d, 647 F. App’x 76 (3d Cir. 2016);

        O’Connor v. Boeing N. Am., Inc., 184 F.R.D. 311, 320 (C.D. Cal. 1998); cf.

        Krakauer, 925 F.3d at 658 (class ascertainable based on “class-wide data”

        from defendant’s “records”). 9      This requirement “is rooted in the

        underlying purposes of the class action device and the dictates of due

        process,” 1 McLaughlin on Class Actions § 4:2, because it “[e]nsures that



           9 Plaintiffs deny this requirement, but cite no case rejecting it. Nor
        does requiring ascertainability risk creating fail-safe classes, as Plaintiffs
        argue. OB 44. It is “[d]efining the class in terms of the legal injury”—as
        the Fixed List Classes do—that creates a fail-safe class. Byrd, 784 F.3d
        at 167 (emphasis added) (cleaned up). The objectivity requirement
        requires class definitions tied to defendants’ conduct, not to class
        members’ injury. 1 McLaughlin on Class Actions § 4:2 (“While plaintiffs
        need not prove that putative class members have been injured for
        purposes of defining a class, the class definition must have some relation
        to the defendants’ conduct.”); O’Connor, 184 F.R.D. at 320 (same).


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        those actually harmed by defendants’ wrongful conduct will be the

        recipients of the relief eventually provided.” Simer v. Rios, 661 F.2d 655,

        670 (7th Cir. 1981); 1 McLaughlin on Class Actions § 4:2 (a class

        definition must “objectively specify[] a particular group that was harmed

        during a particular time frame, in a particular location, in a particular

        way”).

                Here, the district court reasonably found that the Limited Payer

        Class fails the ascertainability requirement because it was not defined

        “in reference to objective criteria.” JA2070-2071 (quoting Adair, 764 F.3d

        at 358).10    Rather than being based on “the defendants’ conduct” or

        “objective records,” 1 McLaughlin on Class Actions § 4:2, its definition

        depends on arbitrary cutoffs—the payment of shipping fees to CCC

        “during more than 8 different calendar months” or the payment of

        shipping fees to IOS “for at least 2.2. million coupons”—chosen solely by

        Plaintiffs’ counsel. JA2067, JA2072-2074 (cleaned up). Such “arbitrary”


           10  Whether class members have “already [been] identified” (OB 42) is
        irrelevant if the identification is not based on “objective criteria.” Adair,
        764 F.3d at 358; see, e.g., Rivera, 829 F. App’x at 887-88 (submitting a list
        of class members does not satisfy requirement to objectively define class);
        1 McLaughlin on Class Actions § 4:2 (“[I]t is insufficient merely to provide
        a list, however lengthy, of persons said to be in the class and leave it to
        the court to devise a class definition.”).


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        cutoffs are not the sort of “objective criteria” from which a class may be

        defined. Brooks v. Darling Int’l, Inc., 2017 WL 1198542, at *7-8 (E.D.

        Cal. Mar. 31, 2017); accord Gbarabe v. Chevron Corp., 2017 WL 956628,

        at *30 (N.D. Cal. Mar. 13, 2017); Schwartz v. Destination Maternity

        Corp., 2015 WL 13648569, at *1 (C.D. Cal. May 18, 2015); Elsea v.

        Jackson Cnty., 2010 WL 4386538, at *3 n.3 (W.D. Mo. Oct. 28, 2010),

        abrogated on other grounds by Hood v. Gilster-Mary Lee Corp., 785 F.3d

        263 (8th Cir. 2015); Brockman v. Barton Brands, Ltd., 2007 WL 4162920,

        at *2-3 (W.D. Ky. Nov. 21, 2007); Daigle v. Shell Oil Co., 133 F.R.D. 600,

        602-03 (D. Colo. 1990).

                The Limited Payer Class’s eight-month and 2.2-million coupon

        cutoffs are every bit as arbitrary as the class definitions those courts

        rejected. Although Plaintiffs argue those cutoffs “are correlated with an

        increased likelihood and magnitude of damages” (OB 48), it is undisputed

        that the Limited Payer Class’s definition excludes thousands of

        manufacturers that Plaintiffs contend were injured.            JA2072-2073. 11



           11 Plaintiffs contend the Limited Payer Class “is limited to direct
        payers of shipping fees,” OB 46, but it is far more limited than that. The
        All Payer Class also covers only direct payers, but the Limited Payer
        Class imposes additional, wholly arbitrary cutoffs on the amount of


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        Plaintiffs’ expert concluded that 5,280 manufacturers were injured by

        Defendants’ alleged conduct, more than 2,000 (39%) of whom are

        excluded by the cutoffs Plaintiffs selected. JA2072-2073.

              For purposes of Plaintiffs’ theory of the case, those excluded

        manufacturers “are indistinguishable from the class members.” Elsea,

        2010 WL 4386538, at *3 n.3.          That proves the class definition is

        “untethered” from Plaintiffs’ own theories and “evidence of harm,”

        Gbarabe, 2017 WL 956628, at *30, and instead relies on “artificial

        construct[s] adopted for purposes unrelated to the claims in the case or

        the interests of the injured parties.” Elsea, 2010 WL 4386538, at *3 n.3.

        Because such a “class definition has no acceptable basis in objective fact,”

        it violates the ascertainability requirement. Brooks, 2017 WL 1198542,

        at *7-8; see Groussman, 2011 WL 5554030, at *7 (denying certification of

        class limited by “arbitrarily chosen dates”); Brockman, 2007 WL

        4162920, at *2 (rejecting class definition with no “reasonable

        relationship” to “the defendants’ allegedly harmful activities”); Daigle,




        payments. JA2066-2067. The case Plaintiffs cite as certifying a direct-
        purchaser class, In re Titanium Dioxide Antitrust Litig., 284 F.R.D. 328,
        335 (D. Md. 2012), involved no such cutoffs.


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        133 F.R.D. at 602-03 (rejecting class definition whose “boundaries” lacked

        “any logical reason relating to the defendants’ activities”).

              This does not, as Plaintiffs argue, impose “a requirement that

        injured parties cannot be excluded from a class.” OB 43. The problem

        with the Limited Payer Class is not that it is not “the broadest possible

        class.”   OB 43-44 (quoting Bennett v. GoDaddy.com LLC, 2019 WL

        1552911, at *12 (D. Ariz. Apr. 8, 2019)).           The problem is that it

        “arbitrarily … exclud[es]” a substantial portion of the manufacturers that

        Plaintiffs claim were injured by Defendants’ alleged conduct, to the

        benefit of class counsel, but not the potential class. Schwartz, 2015 WL

        13648569, at *1 (emphasis added); Manual Complex Litigation § 21.222

        (4th ed.) (“If the definition fails to include a substantial number of persons

        with claims similar to those of the class members, the definition of the

        class may be questionable.” (emphasis added)). It is the arbitrariness and

        magnitude of the exclusions, not their mere existence, that violate the

        ascertainability requirement.

              That distinguishes the cases on which Plaintiffs rely. OB 43-44.

        Those cases hold, at most, that a class need not “include all individuals

        who may have been harmed.” Byrd, 784 F.3d at 167 (emphasis added);



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        see Vaughn v. CSC Credit Servs., Inc., 1994 WL 449247, at *3 (N.D. Ill.

        Mar. 1, 1994) (rejecting argument that plaintiff must “ask for the widest

        possible class”). 12 When certifying a narrow class will “ensure that the

        requirements of Rule 23 are best satisfied,” of course a district court “may

        choose” that class. Bertulli v. Indep. Ass’n of Cont’l Pilots, 242 F.3d 290,

        296 (5th Cir. 2001) (emphasis added). Bertulli, for example, found that a

        district court did not “abuse [its] discretion” by approving a class

        definition that excluded “pilots with interests antagonistic to each other,”

        which “ensured that the class maintained a degree of cohesion, a

        commonality of interest, that a broader class may have lacked.” Id.




           12  Indeed, Vaughn was a magistrate judge decision that the district
        court “disagree[d] in part with” on review. Vaughn v. CSC Credit Servs.,
        Inc., 1995 WL 51402, at *1 (N.D. Ill. Feb. 3, 1995). Specifically, the
        district court rejected the magistrate judge’s “observation” that the class
        was defined based on an “irrelevant” limitation, holding that the
        “limit[ation]” was “appropriate” and that the broader class the
        defendants requested was not. Id. at *4-5. Vaughn thus does not hold
        that a plaintiff may arbitrarily limit a class based on legally irrelevant
        cutoffs. Neither does Mace v. Van Rue Credit Corp., 109 F.3d 338, 340-
        42 (7th Cir. 1997), help Plaintiffs here: it held only that the Fair Debt
        Collection Practices Act does not require all FDCPA classes to be
        nationwide. Wenig v. Messerli & Kramer P.A., 2013 WL 1176062, at *6
        (D. Minn. Mar. 21, 2013) (distinguishing Mace and denying certification
        of class defined by “highly artificial limitations”).


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              The district court’s decision here does not create a broad rule that

        conflicts with those cases. It did not require that Plaintiffs’ class include

        all allegedly injured manufacturers, and Plaintiffs’ narrow class

        definition does not cure problems, it creates them. The district court held

        only that, in the specific circumstances here, Plaintiffs may not

        arbitrarily exclude thousands of allegedly injured manufacturers that are

        identical to the proposed class members in every relevant way. Wenig,

        2013 WL 1176062, at *6 (recognizing that rejecting class defined by

        “highly artificial limitations” is “not to say that a proposed class must

        always include all possible class members”).           That holding was a

        permissible exercise of the court’s discretion under Rule 23.

              B.   The Limited Payer Class Is Not Superior to Other
                   Methods of Adjudication

              For the same reasons, the district court permissibly concluded that

        the Limited Payer Class is not “superior to other methods for the fair and

        efficient adjudication of the controversy,” as Rule 23(b)(3) requires.

        Lienhart v. Dryvit Sys., Inc., 255 F.3d 138, 147 (4th Cir. 2001) (quoting

        Fed. R. Civ. P. 23(b)(3)); JA2069 n.3; 1 McLaughlin on Class Actions § 4:2

        (explaining that ascertainability “overlaps with the ‘manageability’

        inquiry of Rule 23(b)(3)(D), in which a court assesses whether a class


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        action is superior to other available methods of fairly and efficiently

        adjudicating the controversy”).     Because the proposed Limited Payer

        Class arbitrarily excludes a “substantial number” of manufacturers “with

        claims similar to those of the class members,” it cannot satisfy the

        superiority requirement because it does not “capture[] all members

        necessary for efficient and fair resolution of common questions of fact and

        law in a single proceeding.” Manual Complex Litigation § 21.222; see,

        e.g., Fariasantos, 303 F.R.D. at 277-78 (denying class certification under

        superiority requirement where proposed class arbitrarily excluded

        numerous injured parties); Wenig, 2013 WL 1176062, at *6 (same);

        Guevarra v. Progressive Fin. Servs., Inc., 497 F. Supp. 2d 1090, 1091

        (N.D. Cal. 2007) (same); Campos v. W. Dental Servs., Inc., 404 F. Supp.

        2d 1164, 1173 (N.D. Cal. Nov. 28, 2005) (same).

              Allowing Plaintiffs to proceed with a class that excludes the “2,000-

        plus” manufacturers that paid shipping fees to CCC for fewer than eight

        different calendar months or paid shipping fees to IOS for fewer than 2.2.

        million coupons “would be counter to one of the main purposes of class

        actions—avoiding multiple lawsuits.” Fariasantos, 303 F.R.D. at 278.

        Even though Plaintiffs argue each of those excluded manufacturers



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        suffered the same injury from the same conduct as class members, they

        would not benefit from or be bound by a judgment here. Instead, they

        would either “have to bring individual lawsuits … or their claims would

        go unprosecuted.” Id.; see Campos, 404 F. Supp. 2d at 1172 (denying

        certification of class that arbitrarily excluded numerous injured

        individuals because they “would need to bring their own lawsuits,” which

        “contradicts one of the main purposes of class actions: avoiding multiple

        lawsuits”). Simply put, “a class action that resolves only a fraction of the

        possible claims” based on arbitrary cutoffs “is neither a fair nor efficient

        way to adjudicate the controversy.” Wenig, 2013 WL 1176062, at *6

        (cleaned up).

              Here too, Plaintiffs’ arguments miss the mark.            They try to

        distinguish Fariasantos on the ground that the district court certified a

        broader class rather than the improper narrow class (OB 46), but the

        defendant moved for certification of that broader class, which satisfied

        Rule 23. 303 F.R.D. at 277-78. Here, Plaintiffs have the burden to proffer

        an appropriate class definition, and despite multiple bites at the apple,

        they still have not done so. Infra at Section IV. In such circumstances,

        courts simply deny certification of the arbitrarily narrow class. Campos,



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        404 F. Supp. 2d at 1173 (denying certification of arbitrarily narrow class

        because it was “not ‘superior’ to other means available”); Guevarra, 497

        F. Supp. 2d at 1091 (“The court denied plaintiff’s certification motion,

        citing plaintiff’s arbitrary distinction … and concluding that plaintiff’s

        proposed definition is not ‘superior’ to other means available ….”).

        Plaintiffs argue in the alternative that Fariasantos does not apply in

        cases without a “statutory damages cap,” OB 46, but in such cases,

        “allowing [Plaintiffs] to define a small class would only increase the

        likelihood of multiple lawsuits.”    Campos, 404 F. Supp. 2d at 1173

        (emphasis added).

              Moreover, Plaintiffs cannot challenge the court’s decision rejecting

        arbitrary class definitions here by citing decisions approving non-

        arbitrary ones. OB 48-49; Boggs v. Divested Atomic Corp., 141 F.R.D. 58,

        62 (S.D. Ohio 1991) (class definition not overbroad because evidence

        supported claim that all class members were injured); In re Marriott Int’l,

        Inc., Customer Data Sec. Breach Litig., 341 F.R.D. 128, 143, 145 (D. Md.

        2022) (adopting class limitation that excluded only non-injured members,

        for which defendants did “not contest ascertainability on objective

        criteria grounds”); In re Zetia (Ezetimibe) Antitrust Litig., 2021 WL



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        3704727, at *3 (E.D. Va. Aug. 20, 2021) (class definition not overbroad

        because it did not “include so many uninjured class members as to bar

        class certification”); Abdeljalil v. Gen. Elec. Cap. Corp., 306 F.R.D. 303,

        307-08 (S.D. Cal. 2015) (class definition not underinclusive); Dennis v.

        Saks & Co., 1975 WL 909, at *6-7 (S.D.N.Y. July 10, 1975) (imposing

        limitation required “to make the class manageable” and ensure that

        “each member of the class … will receive individual notice”). 13

                Here, the district court reasonably found that the Limited Payer

        Class’s cutoffs were arbitrary, not supported by the facts, and

        inconsistent with Rule 23.         It thus did not abuse its discretion by

        declining to certify that class.

        IV.     The District Court Did Not Abuse Its Discretion by
                Declining to Certify Plaintiffs’ All Payer Class

                Plaintiffs’ last stab at class certification was to go big, proposing

        that the court simply certify all the manufacturers. That everything-


           13     Plaintiffs misrepresent Henderson v. Corelogic National
        Background Data, LLC, 2016 WL 4611571 (E.D. Va. Sept. 2, 2016), which
        did not approve any class definition. It denied certification of an “overly
        broad” class and simply ordered additional discovery related to proposed
        subclasses. Id. at *1-2, *9; Henderson v. Corelogic Nat’l Background
        Data, LLC, 2016 WL 4611570, at *2 (E.D. Va. Sept. 2, 2016) (denying
        certification of subclasses without prejudice and certification of
        nationwide class with prejudice).


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        and-the-kitchen-sink approach cannot be squared with Article III or Rule

        23.

              Although Plaintiffs never mention standing in their brief, Article

        III always requires that a plaintiff’s injury be “concrete”—that is, “real,

        and not abstract.” Spokeo, Inc. v. Robins, 578 U.S. 330, 340 (2016), as

        revised (May 24, 2016) (cleaned up). The class action device does not

        dilute, let alone do away with that requirement: to the contrary, every

        class member must have Article III standing to recover individual

        damages.    TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021).

        Although TransUnion left open the question whether every class member

        must demonstrate standing before a court certifies a class, id. at 424 n.4,

        “[f]ollowing TransUnion, it is clear that, to recover damages …, ‘[e]very

        class member must have Article III standing’ ‘for each claim that they

        press,’ requiring proof that they ‘suffered concrete harm’ from the

        challenged conduct.” Alig v. Rocket Mortg., LLC, 52 F.4th 167, 168 (4th

        Cir. 2022) (per curiam) (quoting TransUnion, 594 U.S. at 431-32); Tyson

        Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 466 (2016) (Roberts, C. J.,

        concurring) (“Article III does not give federal courts the power to order




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        relief to any uninjured plaintiff, class action or not.”). 14 As the party

        invoking federal jurisdiction, Plaintiffs bear the burden of establishing

        standing. Spokeo, 578 U.S. at 338. And “[w]hether absent class members

        can establish standing may be exceedingly relevant to the class

        certification analysis required by Rule 23”—and in particular, the

        question of predominance under Rule 23(b)(3). Cordoba, 942 F.3d at

        1273.

                The All Payer Class cannot be certified consistent with Article III

        or Rule 23 because, as the district court explained, “one-third of the [All-

        Payer] class is uninjured.” JA2089-2090, JA2094-2095, JA2117. The

        court found as a matter of fact that Plaintiffs presented no evidence of

        antitrust injury for 2,533 (32%) of the class’s 7,813 members, which far

        exceeds the proportion of uninjured members other courts have allowed.

        JA2089-2090, JA2094-2095.         Nor did Plaintiffs “claim … they can

        establish a winnowing mechanism” to weed out uninjured members.




           14 Although the district court did not rule based on Article III, as noted

        above, this Court can affirm on any basis supported by the record.


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        JA2089-2090, JA2094-2095.           That means Plaintiffs’ proposed class

        definition fails under Article III and Rule 23. 15

                The All Payer Class’s huge proportion of uninjured class members

        means that individualized questions of injury will necessarily overwhelm

        any common questions. Plaintiffs nevertheless contend that the district

        court abused its discretion by (a) finding that 2,533 All Payer Class

        members were uninjured; (b) purportedly applying “a per se rule against

        uninjured class members”; and (c) concluding that individualized issues

        will predominate.      OB 50.     None of those arguments come close to

        warranting reversal.

                A.   The District Court Did Not Clearly Err as to the
                     Number of Uninjured Class Members

                Faced with the district court’s factual findings as to the number of

        uninjured class members, Plaintiffs implicitly concede that the All Payer

        Class does contain uninjured members, but quibble with the court’s


           15 In addition to establishing Article III standing, private antitrust
        plaintiffs “must also demonstrate ‘antitrust standing.’” Novell, Inc. v.
        Microsoft Corp., 505 F.3d 302, 310 (4th Cir. 2007). Antitrust standing
        “often is critically important for the purpose of evaluating Rule 23(b)(3)’s
        predominance requirement because it is an element of the claim that may
        call for individual, as opposed to common, proof.” In re Hydrogen
        Peroxide, 552 F.3d at 311-12; In re Zetia (Ezetimibe) Antitrust Litig., 7
        F.4th 227, 238 (4th Cir. 2021). That is certainly true here.


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        finding that a third of those class members were uninjured. To be clear,

        Plaintiffs do not take issue with the court’s math, just with its

        significance.   Plaintiffs acknowledge that Grace found no observable

        harm for those 2,533 class members, but contend that this is not the same

        as no actual harm, even though they cannot prove that harm.

              That turns class certification on its head. Under blackletter law,

        Plaintiffs bear the burden of proving both injury and damages, Adair,

        764 F.3d at 358 (citing Dukes, 564 U.S. at 351), but Plaintiffs’ formulation

        would flip that by presuming injury unless Defendants can disprove it.

        No case supports such a departure from controlling case law. Even In re

        Polyester Staple Antitrust Litigation, 2007 WL 2111380, at *19 (W.D.N.C.

        July 19, 2007), which Plaintiffs cite for the proposition that harm can be

        presumed, acknowledged the need for “common proof [that] adequately

        demonstrates some damage to each individual.” (Cleaned up).

              The Ninth Circuit’s decision in Olean does not salvage Plaintiffs’

        arguments either.     As the district court here acknowledged, Olean

        deemed the fact that one model did not affirmatively show damages for

        5.5% of the class unimportant in part because the plaintiffs’ expert

        provided other empirical evidence demonstrating antitrust impact and



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        damages for each direct purchaser. Here, by contrast, “Plaintiffs lack

        expert testimony showing impact and damages to almost a third of the

        class,” JA2089-2090, JA2094-2095, JA2104, and “ask[ed] this court” to

        either fill in the evidentiary gaps for them or simply give them a hall

        pass. Olean does not endorse Plaintiffs’ abdication of their responsibility

        to prove that they can satisfy Rule 23. 16

                Nor, for that matter, do the facts. Plaintiffs’ own expert let the cat

        out of the proverbial bag. As the district court found, she never stated

        that she could prove all manufacturers were injured. JA2099. To the

        contrary, she conceded that she “cannot observe the harm.” JA1979.

        Based on that concession, the district court correctly found that absent

        proof of injury for a third of the proposed All Payer Class, there was in




           16 As this Court recognized, “[w]hile a[n antitrust] case may present a
        common question of violation, the issues of injury and damage remain
        the critical issues in such a case and are always strictly individualized.”
        Windham, 565 F.2d at 66 (emphasis added). Windham also undercuts
        Plaintiffs’ argument that the median price increase can be used as a
        proxy for injury. Even Grace conceded that averages should not be used
        to calculate impact to manufacturers. JA1715. Plaintiffs cannot explain
        why a median price increase can be used where averages cannot. As
        Grace made clear in her report, based on her regressions, “not all
        manufacturers paid observably higher shipping fees after Defendants’
        entered the Non-Compete Agreements with IOS.” JA1718.


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        fact no demonstrable injury to those class members. That factual finding

        was not error, let alone clear error.

              B.   The District Court Applied the Correct Legal Standard

              Plaintiffs also argue that the district court purportedly applied a

        per se rule against including uninjured class members. That is false and

        Plaintiffs cannot make it true through repetition. The court did not hold

        that the presence of any uninjured member in a class necessarily dooms

        certification. Instead, it held, based on the record before it, that a class

        with 32% uninjured members far exceeds the “outer limits” allowing a de

        minimis number of uninjured class members. In re Rail Freight II, 934

        F.3d at 625. Indeed, as the court also found, Plaintiffs did not argue that

        2,533 was “a de minimis number of manufacturers or that they can

        establish a winnowing mechanism.” JA2094. That fact- and case-specific

        analysis, which carefully walked through all the evidence Plaintiffs relied

        on, cannot credibly be characterized as a per se rule.

              C.    Individualized Issues Predominate.

              Finally, for all the reasons set forth above and in the district court’s

        order, individualized issues necessarily prevail over common ones in the

        All Payer Class. As Olean acknowledged, the “district court is in the best

        position to determine whether individualized questions, including those

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        regarding class members’ injury, ‘will overwhelm common ones and

        render class certification inappropriate under Rule 23(b)(3).’” 31 F.4th

        at 669 (quoting Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258,

        276 (2014)). Plaintiffs have not proposed any winnowing mechanism, let

        alone a reasonable one. Nor for that matter have they advanced a single

        case certifying another class with no evidence of injury for over 32% of its

        members. This Court should affirm the decision below.

        V.    This Court Should Decline Plaintiffs’ Invitation to Do Their
              Job for Them

              Plaintiffs suggest that if this Court does not allow one of their

        proposed classes to go forward, it should craft its own definition that can.

        “[D]efining the class from scratch is not the district court’s job.” Rivera,

        829 F. App’x at 887-88. It is not this Court’s either. Plaintiffs have had

        15 years and multiple tries to come up with a manufacturer class that

        can satisfy Rule 23. Their repeated inability to do so does not shift the

        burden to this Court to try to succeed where they have repeatedly failed.

                                     CONCLUSION

              For the reasons set forth above, this Court should affirm the

        decision declining to certify a manufacturers class.




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                          LOCAL RULE 34(a) STATEMENT

              Pursuant to Local Rule 34(a), Defendants-Appellees respectfully

        request oral argument.

                                                 Respectfully submitted,

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                           CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limitation of Federal Rule

        of Appellate Procedure 32(a)(7)(B), because it contains 12,991 words,

        excluding the parts of the brief exempt by Federal Rule of Appellate

        Procedure 32(f).

              This brief complies with the typeface requirements of Federal Rule

        of Appellate Procedure 32(a)(5) and the type-style requirements of

        Federal Rule of Appellate Procedure 32(a)(6), because it has been

        prepared in a proportionally spaced typeface (14-point Century

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        Date: January 26, 2024

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